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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

 State of Texas, et al.                             §
                                                    §
         Plaintiffs,                                §
                                                    §
 v.                                                 §               Civil Action No. 6:23-cv-00013
                                                    §
 Bureau of Alcohol, Tobacco, Firearms and           §
 Explosives, et al.                                 §
                                                    §
         Defendants.                                §


                          DEFENDANTS’ UNOPPOSED MOTION FOR
                            LEAVE TO EXCEED THE WORD LIMIT

        Defendants Bureau of Alcohol, Tobacco, Firearms, and Explosive, the United States

Department of Justice, and Steven M. Dettelbach, in his official capacity as the Director of ATF,

(“Defendants”), respectfully move for leave to extend the word limit to permit a response to Plaintiffs’

Motion for a Preliminary Injunction of up to 19,100 words. In support, Defendants state as follows:

        Plaintiffs filed suit in this matter on February 9, 2023, ECF No. 1, and filed their Motion for

a Preliminary Injunction on March 6, 2023, after receiving leave to file a motion of up to 6,500 words.

ECF Nos. 15, 16. Plaintiffs raise seven substantive legal claims as reasons why a recent Rule by ATF

should be preliminarily enjoined. See ECF No. 16. In addition to responding to Plaintiffs’ seven merits

arguments, Defendants’ response provides a detailed background of the challenged Rule, addresses

the remaining preliminary injunction factors, and addresses the proper scope of relief should an

injunction issue. Given the number, complexity, and novelty of the issues presented, and the relief

that is requested, the standard 5,000 word response provided under the Local Rules is insufficient to

address the issues before the Court.

        Accordingly, to ensure that the parties can fully present their arguments, and because a
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fulsome explanation from both sides will aid the Court in its consideration of Plaintiffs’ Motion,

Defendants respectfully request that they be permitted to file a Response up to 19,100 words.

       Plaintiffs do not oppose this request. A proposed order is attached.




Dated: March 27, 2023                         Respectfully submitted,


                                              BRIAN M. BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              ALAMDAR S. HAMDANI
                                              United States Attorney

                                              BRIGHAM J. BOWEN
                                              Assistant Branch Director

                                              /s/ Faith E. Lowry
                                              FAITH E. LOWRY (TX Bar No. 24099560)
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                                              Attorneys for Defendants




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                             CERTIFICATE OF CONFERENCE

        I certify that on March 27, 2023, I conferred via email with Charles Eldred, counsel for the
State of Texas, regarding the foregoing motion. Plaintiffs do not oppose this motion.

                                                     /s/ Faith E. Lowry
                                                     Faith E. Lowry
                                                     Trial Attorney, Federal Programs Branch


                                CERTIFICATE OF SERVICE

        I certify that on March 27, 2023, the foregoing motion was filed and served on counsel of
record through the Court’s CM/ECF system.

                                                     /s/ Faith E. Lowry
                                                     Faith E. Lowry
                                                     Trial Attorney, Federal Programs Branch




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